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                                         #40199


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Attorneys for Plaintiff



                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF ILLINOIS



Robert Terry,                                        Civil Action No.: 3:23-pq-
                                                     00698-NJR
           Plaintiff,
 v.

Syngenta AG; Syngenta Crop Protection, LLC; OBJECTION TO REPORT AND
et. al.,                                    RECOMMENDATION

            Defendants.



       NOTICE IS HEREBY GIVEN that Robert Terry hereby asks the Court for leave not to be

dismissed pursuant to the 7/19/23 Report and Recommendation of Special Master Ellis. Mr. Terry

completed and submitted a PAQ on 7/27/23. See Exhibit A proof of LMI upload. Mr. Terry

would suffer prejudice by having his case dismissed and as he has now completed all outstanding

discovery, Mr. Terry respectfully requests that he be allowed to continue in his lawsuit.




Dated: July 27, 2023                         Respectfully submitted,

                                             THE MILLER FIRM, LLC



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                                 CERTIFICATE OF SEERVICE
        I hereby certify that this document filed through the ECF system will be sent electronically
to the registered participants as identified on the Notice of Electronic Filing and paper copies will
be sent by first class mail, postage prepaid, to those indicated as non-registered participants on this
date.

Dated: July 27, 2023                          Respectfully submitted,

                                              THE MILLER FIRM, LLC




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